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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 ARENA IP, LLC,

                         Plaintiff,                  Case No. 6:22-cv-00384-ADA

 vs.                                                 JURY TRIAL DEMANDED

 AT&T INC.,

                         Defendant.

       PARTIES’ SECOND JOINT MOTION TO EXTEND STAY OF PROCEEDINGS

          Plaintiff Arena IP, LLC and Defendant AT&T Mobility, LLC (collectively “the Parties”)

filed their Joint Motion to Extend Stay of Proceedings Pending Completion of Settlement

Agreement on November 14, 2022. (Dkt. No. 28). The Court granted the Parties’ Motion on

November 16, 2022, and stayed all proceedings in this case for an additional 30 days. Since that

time, the Parties executed an agreement to resolve this case and they are in the process of each

satisfying conditions precedent to the filing of a motion to dismiss with prejudice. The Parties,

therefore, respectfully request that the Court extend the stay of all deadlines for an additional thirty

days, from the current deadline until January 16, 2023.

          A proposed Order is attached for the Court’s convenience.




                                 [signatures continue on next page]




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 Dated: December 15, 2022                        Respectfully submitted,

 Counsel for Plaintiff Arena IP, LLC             Counsel for Defendant AT&T Mobility LLC

 /s/                                             /s/ Matthew S. Yungwirth
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                                  CERTIFICATE OF SERVICE

          I certify that on December 15, 2022, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.


                                                       /s/ Matthew S. Yungwirth
                                                           Matthew S. Yungwirth




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